       Case 2:15-bk-17348-BR             Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                         Desc
                                         Main Document     Page 1 of 14




                                        UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                               Los Angeles DIVISION


    In re: FIERSTEIN, MICHAEL                                  §    Case No. 2:15-bk-17348-BR
           FIERSTEIN, MARILYN                                  §
                                                               §
                                                               §
                                Debtor(s)


                                     AMENDED TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 05/07/2015. The
    undersigned trustee was appointed on 05/07/2015.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         540,620.28
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                       0.00
                            Administrative expenses                               343,149.68
                            Bank service fees                                           0.00
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $          197,470.60
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




UST Form 101-7-TFR (5/1/2011)
       Case 2:15-bk-17348-BR               Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                             Desc
                                           Main Document     Page 2 of 14



           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 02/08/2016 and the deadline for filing
    governmental claims was 11/03/2015. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $25,202.03. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $25,202.03, for a
    total compensation of $25,202.032. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $0.00 and now requests reimbursement for expenses of $54.12 for total
    expenses of $54.122.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 09/25/2019                                     By: /s/ David M. Goodrich
                                                                        Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



UST Form 101-7-TFR (5/1/2011)
                Case 2:15-bk-17348-BR                           Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                                       Desc
                                                                Main Document     Page 3 of 14
                                                             Form 1
                                                                                                                                                        Exhibit A
                                         Individual Estate Property Record and Report                                                                   Page: 1

                                                          Asset Cases
Case No.: 2:15-bk-17348-BR                                                                    Trustee Name:      (001790) David M. Goodrich
Case Name:    FIERSTEIN, MICHAEL                                                              Date Filed (f) or Converted (c): 05/07/2015 (f)
              FIERSTEIN, MARILYN
                                                                                              § 341(a) Meeting Date:       06/12/2015
For Period Ending:        09/25/2019                                                          Claims Bar Date:      02/08/2016

                                    1                                 2                      3                      4                   5                    6

                           Asset Description                       Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)         Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                    Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                              and Other Costs)

    1       Checking Acct- BofA                                            20.00                      0.00                                    0.00                        FA

    2       Furniture and Applicances                                 2,600.00                        0.00                                    0.00                        FA

    3       Clothes                                                       500.00                      0.00                                    0.00                        FA

    4       Clothes                                                         0.00                      0.00                                    0.00                        FA

    5       Jewelry                                                       600.00                      0.00                                    0.00                        FA

    6       Claim against Fox Entertainment- (u)                    26,905.00                 540,000.00                             540,000.00                           FA
            Pending Action in Superior Court Case No SC123624

    7       2015 Honda Civic                                        18,000.00                         0.00         OA                         0.00                        FA

    8       Return of overpayment (u)                                       0.00                   620.28                                   620.28                        FA
            Return of overpayment


    8       Assets Totals (Excluding unknown values)               $48,625.00                $540,620.28                           $540,620.28                      $0.00




UST Form 101-7-TFR (5/1/2011)
              Case 2:15-bk-17348-BR                Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                              Desc
                                                   Main Document     Page 4 of 14
                                                      Form 1
                                                                                                                                 Exhibit A
                                  Individual Estate Property Record and Report                                                   Page: 2

                                                   Asset Cases
Case No.: 2:15-bk-17348-BR                                                    Trustee Name:      (001790) David M. Goodrich
Case Name:    FIERSTEIN, MICHAEL                                              Date Filed (f) or Converted (c): 05/07/2015 (f)
              FIERSTEIN, MARILYN
                                                                              § 341(a) Meeting Date:    06/12/2015
For Period Ending:   09/25/2019                                               Claims Bar Date:     02/08/2016



 Major Activities Affecting Case Closing:



                           Period ending June 30, 2019- All fee applications have been filed. The trustee submitted the final report on
                           June 27, 2019. The trustee is awaiting approval from the OUST to set the TFR for hearing.

                           Period ending March 31, 2019- All funds have been received pursuant to the settlement agreement.

                           Estate returns have been filed and estate taxes were due. The trustee filed a motion to approve the payment
                           of the estate's taxes [Dkt. 42] and [Dkt. 45]. Once the estate's taxes are paid and the IRS clearance letter is
                           received, the trustee will submit his final report.

                           The trustee does not anticipate amending the ETFR date.

                           Period ending December 31, 2018- The court approved the settlement agreement with Fox [Dkt. 34] and the
                           funds have been received. The trustee will proceed to close the case.

                           The trustee has reviewed the claims filed and objections to claims are not required.

                           The trustee recently employed an accountant to prepare the estate's final returns.

                           The trustee does not anticipate amending the ETFR date.

                           Period ending September 30, 2018- The trustee was able to reach an agreement with Fox to settle the
                           estate's claims against Fox. A motion to approve the settlement was filed with the court on October 4, 2018
                           [Dkt. 30]. Pursuant to the settlement agreement, the estate will receive $540,000.00.

                           Once the funds are received, the trustee will review claims to determine if objections to claims are required.

                           Once all the funds are received, the trustee's accountant will prepare estate returns.

                           The EFTR date has been amended to allow sufficient time to receive the settlement funds, review claims,
                           prepare the estate's final returns, and receive the tax clearance letter.


                           Period ending June 30, 2018- The appeal was affirmed in favor of the debtor on April 3, 2018. The trustee
                           and Fox have exchanged several settlement offers and it appears a settlement is imminent. If a settlement
                           can not be reached, the matter will be re-tried by the superior court.

                           Claims have not been reviewed at this time. Should funds become available, the trustee will review claims to
                           determine if objections are necessary.

                           Estate returns have not been completed. Should funds become available, the trustee will forward the file to an
                           accountant to determine if estate returns are required.

                           Period ending March 31, 2018- The briefing on Fox's motion to dismiss the Trustee's appeal of the state court
                           breach of contract juddgment was completed on April 2017. Fox's motion to dismiss was denied. The parties
                           briefed the appeal on March 22, 2018 the Applellate Court held oral agruments. A ruling on the appeal is
                           expected.

                           Period endind December 31, 2017- The trustee continues to pursue the righs of the estate against Fox. The
                           trustee and Fox have exchanged settlement proposals. If a settlement is not reached, the trustee and Fox
                           will return to trial (a new trial was ordered).

                           Claims have not been reviewed at this time. Should funds become available, the trustee will review claims to
                           determine if objections are necessary.

UST Form 101-7-TFR (5/1/2011)
              Case 2:15-bk-17348-BR                 Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                              Desc
                                                    Main Document     Page 5 of 14
                                                       Form 1
                                                                                                                                   Exhibit A
                                   Individual Estate Property Record and Report                                                    Page: 3

                                                    Asset Cases
Case No.: 2:15-bk-17348-BR                                                   Trustee Name:      (001790) David M. Goodrich
Case Name:    FIERSTEIN, MICHAEL                                             Date Filed (f) or Converted (c): 05/07/2015 (f)
              FIERSTEIN, MARILYN
                                                                             § 341(a) Meeting Date:     06/12/2015
For Period Ending:    09/25/2019                                             Claims Bar Date:      02/08/2016

                           Estate returns have not been completed. Should funds become available, the trustee will forward the file to an
                           accountant to determine if estate returns are required.

                           The trustee expected to submit the final report by January 31, 2018. Because the litigation has not
                           completed, the TFR will not be filed by the expected deadline. The trustee expects to submit the final report
                           by December 31, 2018.


                           Period ending December 31, 2016- The trustee continues to pursue the rights of the estate against Fox. Fox
                           filed a motion for summary judgment which was denied. Trial began November 28, 2016 and the jury
                           reached a verdict in favor of the estate on December 8, 2016. Due to some confusion by the jurors, the
                           verdict was erroneously entered in favor of Fox. On December 22, 2016, the estate's special litigation
                           counsel filed a motion to vacate the verdict. A hearing is set for January 9, 2017.

                           The claims register has not been reviewed at this time. Should funds become available, the trustee will
                           review the claims register to determine if objections to claims are required.

                           Estate returns have not been completed. Should funds become available, the trustee will forward the file to an
                           accountant to determine if estate returns are required.

                           The trustee expected to submit the final report by December 31, 2016. Because the litigation has not
                           completed, the TFR will not be filed by the expected deadline. The trustee expects to submit the final report
                           by May 31, 2017.

                           Period ending September 30, 2016- Counsel for the trustee will be amending the complaint to add the trustee
                           as the plaintiff. The trustee continues to monitor the proceeding and receive updates as to the status of the
                           case. The defendants have stated they will file a motion for summary judgment which will be filed on July
                           14, 2016 with hearing scheduled for September 27, 2016.


                           Period ending December 31, 2015- Mr. Fierstein is a plaintiff in a lawsuit pending in the Superior Court of
                           Los Angeles, bearing the case number SC123624. The trustee believes that the amount the debtor
                           scheduled on his amended schedules in regard to the claim is significantly low. The trustee filed an
                           application to employ The Law Office of Larry Zerner and McPherson Rane, LLP to represent him as special
                           counsel. Special counsel will continue with the litigation on behalf of the estate.

                           Should funds become available, the trustee will have his accountant review the file to determine if estate
                           returns are required.

                           The trustee anticipates filing the final report by December 31, 2016.
 Initial Projected Date Of Final Report (TFR): 12/31/2016            Current Projected Date Of Final Report (TFR):    08/21/2019 (Actual)




UST Form 101-7-TFR (5/1/2011)
                 Case 2:15-bk-17348-BR                     Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                                          Desc
                                                           Main Document     Page 6 of 14
                                                                Form 2                                                                             Exhibit B
                                                                                                                                                   Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              2:15-bk-17348-BR                                 Trustee Name:                   David M. Goodrich (001790)
Case Name:             FIERSTEIN, MICHAEL                               Bank Name:                      Rabobank, N.A.
                       FIERSTEIN, MARILYN                               Account #:                      ******3400 Checking
Taxpayer ID #:         **-***7022                                       Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 09/25/2019                                           Separate Bond (if applicable): N/A

    1          2                        3                                          4                          5                     6                        7

  Trans.    Check or       Paid To / Received From          Description of Transaction      Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                        Tran. Code       $                       $

 11/14/18     {6}      Fox Group                         Payment per settlement            1229-000          540,000.00                                      540,000.00
 11/19/18     101      Law Office of Larry Zerner and    EOD 10/31/2018- Special Counsel   3110-000                                307,924.91                232,075.09
                       McPherson Rane, LLP               Fee
 11/19/18     102      Law Office of Larry Zerner and    EOD 10/31/2018- Special Counsel   3110-000                                 26,791.81                205,283.28
                       McPherson Rane, LLP               Expenses
 11/27/18     103      International Sureties            Bond No. 016030866                2300-000                                        3.57              205,279.71
                                                         Voided on 11/27/2018
 11/27/18     103      International Sureties            Bond No. 016030866                2300-000                                        -3.57             205,283.28
                                                         Voided: check issued on
                                                         11/27/2018
 11/27/18     104      International Sureties            Bond No. 016030866                2300-000                                        3.57              205,279.71
 12/11/18     {8}      McPherson Rane LLP                return of overpayment             1280-000               620.28                                     205,899.99
 03/19/19     105      International Sureties            Bond No. 016030866                2300-000                                      115.39              205,784.60
 04/10/19     106      United States Treasury            EOD 4/4/19- Taxes Due EIN 30-     2810-000                                     2,987.00             202,797.60
                                                         6627022
 04/10/19     107      United States Treasury            EOD 4/4/19- Taxes Due EIN 30-     2810-000                                     2,987.00             199,810.60
                                                         6627022
 04/10/19     108      Franchise Tax Board               EOD 4/4/19- Taxes Due EIN 30-     2820-000                                     1,170.00             198,640.60
                                                         6627022
 04/10/19     109      Franchise Tax Board               EOD 4/4/19- Taxes Due EIN 30-     2820-000                                     1,170.00             197,470.60
                                                         6627022

                                            COLUMN TOTALS                                                    540,620.28             343,149.68               $197,470.60
                                                  Less: Bank Transfers/CDs                                          0.00                    0.00
                                            Subtotal                                                         540,620.28             343,149.68
                                                  Less: Payments to Debtors                                                                 0.00

                                            NET Receipts / Disbursements                                   $540,620.28            $343,149.68




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                ! - transaction has not been cleared
                 Case 2:15-bk-17348-BR                 Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                            Desc
                                                       Main Document     Page 7 of 14
                                                       Form 2                                                                   Exhibit B
                                                                                                                                Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           2:15-bk-17348-BR                          Trustee Name:                   David M. Goodrich (001790)
                    FIERSTEIN, MICHAEL
Case Name:                                                    Bank Name:                      Rabobank, N.A.
                    FIERSTEIN, MARILYN
                                                              Account #:                      ******3400 Checking
Taxpayer ID #:      **-***7022
                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 09/25/2019
                                                              Separate Bond (if applicable): N/A




                                                                                                 NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                      NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******3400 Checking                            $540,620.28        $343,149.68                $197,470.60

                                                                                $540,620.28             $343,149.68            $197,470.60




UST Form 101-7-TFR (5/1/2011)
Case 2:15-bk-17348-BR   Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31   Desc
                        Main Document     Page 8 of 14
Case 2:15-bk-17348-BR   Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31   Desc
                        Main Document     Page 9 of 14
Case 2:15-bk-17348-BR   Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31   Desc
                        Main Document    Page 10 of 14
Case 2:15-bk-17348-BR   Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31   Desc
                        Main Document    Page 11 of 14
  Case 2:15-bk-17348-BR               Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                               Desc
                                      Main Document    Page 12 of 14


                                      TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                   Exhibit D


      Case No.: 2:15-bk-17348-BR
      Case Name: MICHAEL FIERSTEIN AND MARILYN FIERSTEIN
      Trustee Name: David M. Goodrich

                                                       Balance on hand:          $                             197,470.60

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                             Claim        Allowed            Interim          Proposed
  No.                                                          Asserted        Amount         Payments to           Payment
                                                                               of Claim              Date

  9          American Honda Finance Corporation                19,445.46              0.00              0.00              0.00

                                                    Total to be paid to secured creditors:          $                   0.00
                                                    Remaining balance:                              $             197,470.60

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                               Total            Interim          Proposed
                                                                             Requested          Payments            Payment
                                                                                                  to Date

  Trustee, Fees - David M. Goodrich                                            25,202.03                0.00       25,202.03
  Trustee, Expenses - David M. Goodrich                                              54.12              0.00           54.12
  Attorney for Trustee Fees - Law Office of Larry Zerner and                  307,924.91        307,924.91                0.00
  McPherson Rane, LLP
  Attorney for Trustee Fees - Law Office of Larry Zerner and                   26,791.81         26,791.81                0.00
  McPherson Rane, LLP
  Attorney for Trustee Fees (Other Firm) - Margulies Faith LLP                 29,620.50                0.00       29,620.50
  Accountant for Trustee Fees (Other Firm) - Hahn, Fife & Company               3,192.00                0.00        3,192.00
  Accountant for Trustee Expenses (Other Firm) - Margulies Faith LLP             246.44                 0.00          246.44
  Accountant for Trustee Expenses (Other Firm) - Hahn, Fife &                    401.60                 0.00          401.60
  Company
                        Total to be paid for chapter 7 administrative expenses:                     $              58,716.69
                        Remaining balance:                                                          $             138,753.91

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                         Total             Interim           Proposed
                                                                           Requested         Payments          Payment

                                                          None


                      Total to be paid for prior chapter administrative expenses:                   $                   0.00
                      Remaining balance:                                                            $             138,753.91


UST Form 101-7-TFR(5/1/2011)
  Case 2:15-bk-17348-BR               Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                    Desc
                                      Main Document    Page 13 of 14


              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

            Allowed priority claims are:
  Claim       Claimant                             Allowed Amount          Interim Payments             Proposed
  No.                                                     of Claim                   to Date             Payment

                                                        None


                                                     Total to be paid for priority claims:      $            0.00
                                                     Remaining balance:                         $      138,753.91

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $36,779.44 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount          Interim Payments             Proposed
  No.                                                     of Claim                   to Date             Payment

  1           Portfolio Recovery Associates,                4,947.67                     0.00            4,947.67
              LLC c/o Us Bank
  2           Portfolio Recovery Associates,                5,589.97                     0.00            5,589.97
              LLC c/o Us Bank
  3           Capital One Bank (USA), N.A.                  3,852.31                     0.00            3,852.31
  4           Capital One Bank (USA), N.A.                     943.16                    0.00              943.16
  5           Capital One Bank (USA), N.A.                     495.93                    0.00              495.93
  6           Capital One Bank (USA), N.A.                     771.01                    0.00              771.01
  7           Capital One Bank (USA), N.A.                  7,695.96                     0.00            7,695.96
  8           Capital One Bank (USA), N.A.                 11,584.29                     0.00           11,584.29
  10          Capital Recovery V, LLC c/o                      173.59                    0.00              173.59
              Recovery Management Systems
              Corporat
  11          Capital Recovery V, LLC c/o                      725.55                    0.00              725.55
              Recovery Management Systems
              Corporat
                          Total to be paid for timely general unsecured claims:                 $       36,779.44
                          Remaining balance:                                                    $      101,974.47




UST Form 101-7-TFR(5/1/2011)
  Case 2:15-bk-17348-BR             Doc 56 Filed 09/25/19 Entered 09/25/19 16:25:31                         Desc
                                    Main Document    Page 14 of 14


           Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
    paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
    applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount         Interim Payments                Proposed
  No.                                                     of Claim                  to Date                Payment

                                                        None


                        Total to be paid for tardily filed general unsecured claims:          $                0.00
                        Remaining balance:                                                    $          101,974.47

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount         Interim Payments                Proposed
  No.                                                     of Claim                  to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $             101,974.47

            To the extent funds remain after payment in full of all allowed claims, interest will be paid at the
    legal rate of 0.25% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $394.75. The
    amounts proposed for payment to each claimant, listed above, shall be increased to include the
    applicable interest.
            The amount of surplus returned to the debtor after payment of all claims and interest is
    $101,579.72.




UST Form 101-7-TFR(5/1/2011)
